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USDCNH-96 (Rev. 7/14) Appearance of Counsel


                                    UNITED STATES DISTRICT COURT
                                                           for the
                                                District of New Hampshire


                       SIG Sauer, Inc.                        )
                            Plaintiff                         )
                               v.                             )      Case No. 1:22-cv-00078-LM
 Jeffrey S. Bagnell, Esq., LLC and Jeffrey S. Bagnell         )
                           Defendant                          )

                                              APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        Amici American Civil Liberties Union and American Civil Liberties Union of New Hampshire                       .


Date:         05/26/2022                                                                 /s/ Brian Hauss
                                                                                        Attorney’s signature


                                                                                    Brian Hauss (pro hac vice)
                                                                                    Printed name and bar number
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                                            CERTIFICATE OF SERVICE

I hereby certify that this Appearance was filed in the court's electronic filing system and served on the following
persons on this date and in the manner specified herein:

Electronically Served Through ECF:
 All counsel of record




 Conventionally Served:




          05/26/2022                                                            /s/ Brian Hauss
Date                                                        Signature
